Case 2:07-cv-00257-ABJ Document 10 Filed 12/04/07 Page 1 of 2

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DISTRICT OF Wout
DEC 04 2007
Nicholas H. Carter, Esq. Ste p han H .
slephante M. umpirey, Esa. r airs, Cle rk
i 0 South Gillette Ave Seite B Ch eyenne
P.O. Box 909
Gillette, WY 82717
(307) 682-9349
(307) 687-7690 - Fax
IN THE UNITED STATES DISTRICT COURT,
FOR THE DISTRICT OF WYOMING
RUDOLF DEHAAN,
Plaintiff,
ys. Civil Case No. 07-CV-257-3

PERRY ROCKVAM, Individually and. as Representative for
- CODY POLICE DEPARTMENT, AND

CODY POLICE DEPARTMENT, AND

SCOTT A. STEWARD, Individually and as Representative for

PARK COUNTY SHERIFF'S DEPARTMENT AND

DETENTION CENTER, AND

PARK COUNTY SHERIFE’S OFFICE AND DETENTION CENTER, AND
OFFICER TORIN CHAMBERS, AND

JOHN DOES #1, #2, #3, #4, #5, AND #6,

Defendants.

RETURN OF SERVICE

 

, being first duly sworn on oath, depose

and state that the undesigned is: Over 21 years of age; and not a party to the foregoing action.
Case 2:07-cv-00257-ABJ Document 10 Filed 12/04/07 Page 2 of 2

The undersigned made service of said Subpoena on the ie day of
Wovembsec , 2007, by delivering a copy of the same to:
Peco Rockvanns , Chiek K Paine Cody Police

Recackmen’ geesond, and in geeSon_

at the location of: Od West {ORAS oC . a. .
wayiy

 

_ Cauithas, Kaseh-

COUNTY OF PARK )
) ss.
STATE OF WYOMING )

th (\,
Subscribed and sworn to before me this | UF day of (j J Wnb—uUr ,

“" icsrrm Oo udu)

Notary Public

My Commission Expires: 2 / Ut O95

 

 
      

   
    

COUNTY OF 4@R¥\ STATE OF
PARK Mees = WYOMING

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MY COMMISSION EXPIRES FEBRUARY 4, 2009

Return of Service

Dehaan v. Rockvam, et.al
Civil Case No. 07-CV-257-]
Page 2
